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             EXHIBIT 4
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                                                                                        Corey H <coreymhall@gmail.com>



Fw: COVID-19 Accommodations Update
Corey Hall <CHall@kirklandwa.gov>                                                               Sun, Dec 5, 2021 at 7:43 PM
To: Corey <coreymhall@gmail.com>




 From: Amy Bolen <ABolen@kirklandwa.gov>
 Sent: Friday, December 3, 2021 10:50 AM
 To: Corey Hall <CHall@kirklandwa.gov>
 Cc: Justin Becker <JBecker@kirklandwa.gov>; Kristen Deskin <KDeskin@kirklandwa.gov>
 Subject: COVID-19 Accommodations Update

 Sent on behalf of Jim Lopez, Deputy City Manager

 Corey,

 Currently, you have been granted an accommodation from COVID-19 vaccination through December 31, 2021. The
 City is meeting with your Local 2545 leadership next week to discuss possibilities for unvaccinated firefighters in 2022.
 Nevertheless, the City wanted to provide you the following information as soon as possible. The following is the
 current process, unless a different resolution is reached with the union at next week’s meeting.

 The City has evaluated the day-shift assignment accommodations that have been provided to unvaccinated
 firefighters and has determined that we will have substantially completed the intended work by the end of the year.
 After December 31, the City will no longer be able to offer a day-shift assignment as a reasonable accommodation.
 The City has further evaluated the other alternative accommodations that were offered, including use of leave and
 leave without pay, and determined that we can no longer absorb the burdens of those accommodations.

 In addition, after thoroughly analyzing the City’s operational, financial, liability, and administrative capabilities and
 burdens and considering the various options and requests for alternative accommodations, the City has determined
 that there are no other reasonable accommodations available for the City to provide firefighters with a religious
 exemption from vaccination. Because accommodations are individualized, please reach out to Kristen Deskin in
 Human Resources (KDeskin@kirklandwa.gov) or your Local 2545 leadership if there are alternative
 accommodations you’d like the City to consider beyond those already requested or offered. Absent unique
 circumstances, after December 31, 2021, you will no longer be accommodated with an exemption from the
 requirement to be vaccinated for your firefighter/EMT position.

 Without an accommodation or vaccination, you cannot perform an essential function of your position. Therefore, the
 City anticipates that you will have to be separated from employment with the City. You have the option to voluntarily
 separate from the City and submit a resignation or retirement letter indicating the effective date of separation as
 December 31, 2021, or earlier.

 For a period of one year following voluntary separation, the City will guarantee (with Civil Service Commission
 concurrence) non-probationary employees reinstatement to the position from which they resigned or a vacant
 position in the same or comparable class if the employee becomes fully vaccinated (under the criteria for being fully
 vaccinated in place at the time of reinstatement) or there is no longer any federal, state, and/or local requirement to
 be vaccinated. Such reinstatement must be consistent with the Civil Service Rules, which provide that an employee
 who has resigned may be reinstated with the approval of the appointing authority and with concurrence of the
 Commission.
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If we have not received a voluntary separation letter from you by Monday, December 20, then the City will proceed
with the pre-separation process. That process will include a notice of proposed separation and the option for you to
meet with Chief Sanford or his designee within five days after the notice of proposed separation. The separation will
be effective when a final determination is made by the fire chief.

We understand that some accommodated firefighters have indicated an intention to become fully vaccinated in the
near future. The City is willing to provide a short extension of the day-shift accommodation in order to become fully
vaccinated. In order to be eligible for this extension, you must initiate the process of vaccination by no later than
December 27, 2021, providing proof of the initial dose of a CDC-approved vaccination taking place by that date, and
you must be fully vaccinated by no later than February 14, 2022.

Thank you,
Jim

                James C. Lopez
                Deputy City Manager, External Affairs
                City of Kirkland
                425 587 3001
                www.kirklandwa.gov


                Amy Bolen
                Executive Assistant
                425 587 3007

City of Kirkland COVID-19 Information & Resources:
-Resident Resources for COVID-19
-Business Resources for COVID-19
-Ways to Help During COVID-19
-COVID-19 Updates from the City




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